2JS 45 (5/97) - (Revised U.S.D.C.
                      Case        MA 9//2023)
                               1:25-mj-07242-JCB         Document 2-1              Filed 06/04/25           Page 1 of 2
Criminal Case Cover Sheet                                                             U.S. District Court - District of Massachusetts

Place of Offense: MA                         Category No.       II                   Investigating Agency                IRS/USPIS

City     Saugus                                   Related Case Information:
                                                  Superseding Ind./ Inf.                               Case No.
County      Essex
                                                  Same Defendant                                  New Defendant
                                                  Magistrate Judge Case Number             25-mj-7242-JCB

                                                  Search Warrant Case Number
                                                  R20/R 40 from District of
                                                  Is this case related to an existing criminal action pursuant to Rule      ✔ Yes          No
Defendant Information:                                                             See below
                                                  40.1(h)?If yes, case number ________BBBBB____BBBBBBBBBBBB

Defendant Name       NNAMDI OPARA                                                                           -XYHQLOH        G Yes       ✔ No
                                       Is this person an attorney and/or a member of any state/federal bar:                G Yes        ✔ No
Alias Name
Address             Woburn, MA

                      1994
Birth date (Yr only): BBB_BB                    8629
                                 661(last4 BBBBB         M
                                                         Se[BBBBBB        Race _BBBBBBBBBBBBBB            1DWLRQDOLW\ BBBBBBBBBBBBBBBBB_

Defense Counsel if known:                                                          Address

%DU1XPEHU

U.S. Attorney Information

$86$      Brian J. Sullivan                                             Bar Number if applicable 676186

Interpreter:               Yes      ✔ No                             List language and/or dialect:

Victims:                 Yes      ✔ No         If yes, are there multiple crime victims under 18 USC§3771(d)(2)            G Yes        No

Matter to be SEALED:                ✔ Yes               No

✔ :DUUDQW5HTXHVWHG                     Regular Process                    In Custody

Location Status:

Arrest Date:

    Already in Federal Custody as of                                                      Ln                                         .
    Already in State Custody at                                                       Serving Sentence                       $ZDLWLQJ7ULDO
    On Pretrial Release:       Ordered by:                                                on

Charging Document:                   ✔ Complaint                G Information                               Indictment

Total # of Counts:                   G Petty                    G Misdemeanor                           ✔ Felony 2

                                          Continue on Page 2 for Entry of U.S.C. Citations

✔        I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
         accurately set forth above.

Date: 6/3/2025                                Signature of AUSA:            V%ULDQ-6XOOLYDQ
                     Case 1:25-mj-07242-JCB                      Document 2-1            Filed 06/04/25   Page 2 of 2
JS 45 (5/97) (Revised U.S.D.C. MA 9/20/2023) Page 2 of 2 or Reverse


District Court Case Number (To be filled in by deputy clerk):
Name of Defendant              Nnamdi Opara
                                                                      U.S.C. Citations
                Index Key/Code                                  Description of Offense Charged                    Count Numbers

Set 1
           18 U.S.C. § 641                          Theft of government funds                                           1-2
Set 2


Set 3


Set 4


Set 5


Set 6


Set 7


Set 8


Set 9


Set 10


Set 11


Set 12


Set 13


Set 14


Set 15

 ADDITIONAL INFORMATION:

 Related cases: 25-mj-7239-7241; 7243-7246-JCB




USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
